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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA
                           Civil No. 20-CV-02532-ECT-DTS

 MARIO FERBO MANCINI,

                      Plaintiff,

        v.

 UNITED STATES OF AMERICA, et al.,

                      Defendants.


     MOTION FOR SUMMARY JUDGMENT AND TO EXCLUDE EXPERT
                         TESTIMONY

       Defendant moves the Court for an order granting summary judgment under Federal

Rules of Civil Procedure 56 and an order to exclude expert testimony under Federal Rules

of Evidence 702. This motion is based on the accompanying brief, as well as the pleadings,

discovery responses, declarations, exhibits, and the other documents on file and to be filed,

and the entire record of proceedings herein.

                               [Signature on following page]
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Dated: July 24, 2023                     Respectfully submitted,
                                         ANDREW M. LUGER
                                         United States Attorney

                                         s/ Lucas B. Draisey

                                         BY: DAVID W. FULLER
                                         Assistant U.S. Attorney
                                         Attorney ID Number 390922

                                         LUCAS B. DRAISEY
                                         Assistant U.S. Attorney
                                         Attorney ID Number 0401625
                                         600 United States Courthouse
                                         300 South Fourth Street
                                         Minneapolis, MN 55415
                                         Phone: 612-664-5600
                                         Email: David.Fuller@usdoj.gov
                                         Email: Lucas.Draisey@usdoj.gov




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